Case:24-01022-MER Doc#:16 Filed:04/04/24                  Entered:04/04/24 15:57:42 Page1 of 4




                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                                                )
                                                      )
SHILO DION SANDERS                                    )       Case No. 23-14859-MER
                                                      )
                                                      )       Chapter 7
         Debtor.                                      )
                                                      )
                                                      )
JOHN DARJEAN,                                         )
                                                      )
     Plaintiff,                                       )       Adv. Pro. 24-01022-MER
                                                      )
v.                                                    )
                                                      )
SHILO DION SANDERS,                                   )
                                                      )
     Defendant.                                       )

         JOINT REPORT OF RULE 26(f) CONFERENCE AND DISCOVERY PLAN

         Having met and conferred, pursuant to Rule 26 of the Federal Rules of Civil Procedure (the

“Federal Rules”) made applicable hereto pursuant to Rule 7026 of the Federal Rules of Bankruptcy

Procedure, Plaintiff John Darjean (“Darjean”) and Defendant Shilo Dion Sanders (“Sanders” and

collectively with Darjean, the “Parties” and each a “Party”), respectfully submit this “Joint Report

of Rule 26(f) Conference and Discovery Plan” pursuant to this Court’s Order (“Order”) entered on

February 29, 2024 [Docket No. 5].

                                        DISCOVERY PLAN

         1.       The Parties agree that Amended pleadings shall be filed and/or additional parties

shall be joined by May 31, 2024.

         2.       The Parties have not reached agreement on the remaining deadlines required by the

Order.

         3.       Defendant Sanders believes the following deadlines should apply:
Case:24-01022-MER Doc#:16 Filed:04/04/24                   Entered:04/04/24 15:57:42 Page2 of 4




               a. Parties will provide expert disclosure under Rule 26(a)(2) of the Federal Rules
                  by May 31, 2024, and rebuttal expert disclosures under Rule 26(a)(2)(B) of the
                  Federal Rules by July 1, 2024.

               b. Expert discovery shall be completed by July 31, 2024.

               c. All fact discovery shall be completed by July 31, 2024.

               d. Dispositive motions shall be filed by August 30, 2024.

       4.      Plaintiff Darjean believes the following deadlines should apply:

               a. Parties will provide expert disclosure under Rule 26(a)(2) of the Federal Rules
                  by August 29, 2024, and rebuttal expert disclosures under Rule 26(a)(2)(B) of
                  the Federal Rules by September 29, 2024.

               b. Expert discovery shall be completed by October 29, 2024.

               c. All fact discovery shall be completed by October 29, 2024.

               d. Dispositive motions shall be filed by November 28, 2024.

       5.      The Parties will each file separate short position statements on or before April 11,

2024 with regard to these deadlines that are in dispute.


Dated: April 4, 2024                          Respectfully submitted,

                                              SHILO DION SANDERS

                                              By:

                                              KUTNER BRINEN DICKEY RILEY, P.C.

                                              /s/ Keri L. Riley
                                              Keri L. Riley, #47605
                                              1660 Lincoln Street, Suite 1720
                                              Denver, CO 80264
                                              Tel: (303) 832-2400
                                              Email: klr@kutnerlaw.com

                                              - and -




                                                 2
Case:24-01022-MER Doc#:16 Filed:04/04/24    Entered:04/04/24 15:57:42 Page3 of 4




                                  BARNES & THORNBURG LLP

                                  Victor D. Vital (of counsel)
                                  2121 N. Pearl St., Suite 700
                                  Dallas, TX 75201-2469
                                  Tel: (214) 258-4124
                                  Email: Victor.Vital@btlaw.com

                                  - and -

                                  James E. Van Horn (of counsel)
                                  555 12th St NW, Suite 1200
                                  Washington, DC 20004
                                  Tel: (202) 371-6351
                                  Email: JVanHorn@btlaw.com

                                  Attorneys for Defendant Shilo Dion Sanders


                                  JOHN DARJEAN

                                  By:

                                  Ori Raphael
                                  State Bar No. 24088273
                                  Damon Mathias
                                  State Bar No. 24080170

                                  MATHIAS RAPHAEL PLLC
                                  13101 Preston Road, Suite 501
                                  Dallas, Texas 75240
                                  Office: 214-739-0100
                                  Facsimile: 214-739-0151
                                  Ori@mr.law Damon@mr.law

                                  -and-

                                  /s/ Andrew Miller
                                  Andrew Miller (#44219) Alan D.
                                  Sweetbaum (13491)
                                  SWEETBAUM MILLER, PC
                                  1200 17th Street, Suite 1250
                                  Denver, Colorado 80202
                                  (303) 296-3377
                                  asweetbaum@sweetbaumlaw.com
                                  amiller@sweetbaumlaw.com

                                     3
Case:24-01022-MER Doc#:16 Filed:04/04/24   Entered:04/04/24 15:57:42 Page4 of 4




                                           -and-

                                  Jeff Carruth (TX State Bar No. 24001846)
                                  WEYCER, KAPLAN, PULASKI & ZUBER,
                                  P.C.
                                  2608 Hibernia, Suite 105
                                  Dallas, Texas 75204
                                  (713) 341-1158
                                  jcarruth@wkpz.com

                                  ATTORNEYS FOR JOHN DARJEAN




                                     4
